       Case 2:17-cv-02068-SPL Document 28 Filed 12/20/17 Page 1 of 1




 1
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                              )   No. CV-17-02068-PHX-SPL
     Linda O’Connor,
 9                                              )
                                                )
                       Plaintiff,               )   ORDER
10                                              )
     vs.
11                                              )
                                                )
     Navient Solutions, LLC, et al.,            )
12                                              )
13                     Defendants.              )
                                                )
14                                              )

15          Having considered the parties’ stipulation,
16          IT IS ORDERED:
17          1. That the Stipulation for Dismissal (Doc. 27) is granted;
18          2. That Defendant Equifax Information Services, LLC is dismissed with
19   prejudice;
20          3. That each party shall bear its own costs and attorneys’ fees; and
21          4. That the Clerk of Court shall terminate Defendant Equifax Information
22   Services, LLC as a party in this action.
23          Dated this 20th day of December, 2017.
24
25                                                        Honorable Steven P. Logan
                                                          United States District Judge
26
27
28
